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         ORDERED in the Southern District of Florida on August 18, 2020.




                                                       Robert A. Mark, Judge
                                                       United States Bankruptcy Court
_____________________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
       __________________________________
                                          )
       In re:                             )    CASE NO. 19-22057-RAM
                                          )    CHAPTER 7
       PACIFICO SUR GROUP, LLC,           )
                                          )    (Jointly Administered)
                      Debtor.             )
                                          )

                                ORDER (1) DENYING
                         MOTION FOR RECONSIDERATION; AND
                      (2) IMPOSING FILING REQUIREMENTS AND
                   EXAMINATION OBLIGATIONS ON FRANCISCO BAEZA

            The Court conducted a hearing on August 17, 2020, on the

       following motions:

            A.   Chapter 7 Trustee’s Motion for Order to Show Cause Why
                 Francisco   Baeza  and   Agustin Palma,   Jointly and
                 Severally, Should Not be Held in Contempt of Court for
                 Failure to Comply with this Court’s Order (the “Show
                 Cause Motion”) [DE# 206];
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     B.     Francisco Baeza’s Motion for Rehearing, Reconsideration,
            to Alter and Amend, and for Additional Relief from the
            Court’s Order Denying Motion to Quash (the “Motion for
            Reconsideration”) [DE# 215]; and

     C.     Chapter 7 Trustee’s Expedited Motion to Compel Francisco
            Baeza and Agustin Palma to Appear at First Meeting of
            Creditors (the “341 Motion”) [DE# 235].

     The Motion for Reconsideration asks the Court to reconsider

its June 11, 2020 Order Denying Motion to Quash [DE# 205].                      The

Show Cause Motion seeks enforcement of the Court’s April 6, 2020

Order Granting Extension of Time to File Lists and Schedules (the

“Extension Order”) [DE# 162], and the 341 Motion seeks an Order

compelling Francisco Baeza       (“Baeza”) and Agustin Palma (“Palma”)

to appear at the Debtors’ 341 Meeting on August 26, 2020.

     At the conclusion of the August 17th hearing, the Court

announced its findings and conclusions on the record. Key findings

included the following:

     A.      The Motion for Reconsideration failed to establish that

the Order Denying Motion to Quash was based on any manifest errors

of   fact    or   law.   Therefore,   there     was    no     cause       to   grant

reconsideration of that Order.

     B.      In further support of the Order Denying Motion to Quash,

and in support of the Court’s finding that Baeza must attend the

341 meeting and comply with the Extension Order, the Court cited

the following additional authority: (1) a debtor’s obligations

under 11 U.S.C. § 521, including the obligation to file schedules
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and a statement of financial affairs, (2) a debtor’s obligation

under 11 U.S.C. § 343 “to appear and submit to examination under

oath at the meeting of creditors under section 341(a)”, (3) the

duties of a debtor under Fed. R. Bankr. P. 4002, including a

debtor’s obligation under (a)(1) of that rule to “attend and submit

to an examination at the times ordered by the court”, and (4) the

definition of a debtor in Fed. R. Bankr. P. 9001(5) that includes

officers and controlling shareholders.

     C.    Baeza concedes that he owns and controls the Debtors.

Therefore, he must fulfill the obligations of the Debtors under

the statutory and rule provisions cited in subparagraph B. above.

     Based upon these findings, and the additional findings stated

on the record, which are incorporated here by reference, it is-

     ORDERED as follows:

     1.    The Motion for Reconsideration is denied.

     2.    Unless otherwise agreed to by the Petitioning Creditors

and the Chapter 7 Trustee (the “Trustee”), Baeza shall appear for

a video conference examination no later than September 15, 2020.

     3.    By September 8, 2020, Baeza shall file all of the lists,

schedules and other documents required by this Court’s February

20, 2020 Order for Relief in Involuntary Case and Order Setting

Deadline for Filing Schedules, Statements and Other Documents [DE#

126].     That Order imposed these obligations on Debtors’ prior

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attorney, Miguel Armenteros.     However, the April 6, 2020 Extension

Order subject of the Show Cause Motion requires Baeza and Palma to

prepare and file the required documents.

     4.     If Baeza claims that he does not have access to the

information necessary to comply with the Extension Order, he shall

file an affidavit or declaration by September 8, 2020 describing

the efforts he has made to comply and describing the location of

the information necessary to comply.

     5.    As announced at the August 17th hearing, Palma is excused

from complying with the Extension Order.

     6.   The 341 Motion is granted as to Baeza and denied as to

Palma.    Palma is excused from appearing at the § 341 Meeting.

Baeza is obligated to appear at the Debtors’ § 341 Meeting.            The

Trustee shall continue the § 341 Meeting presently scheduled for

August 26, 2020 and conduct the § 341 Meeting together with the

video conference examination required by paragraph 2 of this Order.

     7.    By September 1, 2020, Baeza’s counsel, Laudy Luna, Esq.,

shall file a Notice of Compliance stating whether Baeza intends to

comply with this Order.

     8.    Baeza’s failure to comply with this Order shall be deemed

civil contempt, and the Trustee and/or the Petitioning Creditors

may seek any sanctions available for contempt, including those

provided in Fed. R. Bankr. P. 2005.

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COPIES TO:

Barry S. Turner, Esq.
Laudy Luna, Esq.
Gary M. Freedman, Esq.
AUST

(Attorney Turner is directed to serve a copy of this Order on all
other necessary parties and file a Certificate of Service)




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